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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
LIBERTY MUTUAL INSURANCE COMPANY,                             :
                                                              :
                         Plaintiff,                           :   21-CV-8726 (VSB) (OTW)
                                                              :
                      -against-                               :   ORDER
                                                              :
ALL-WAYS FORWARDING INT'L INC.,
                                                              :
                         Defendant.                           :
                                                              :
                                                              :
--------------------------------------------------------------x

         ONA T. WANG, United States Magistrate Judge:

         On May 9, 2023, the Court directed the parties to inform the Court whether they wish

to consent to my jurisdiction for deciding certain anticipated dispositive motions. (ECF 43). The

parties filed a joint letter in which they appeared to consent to my jurisdiction to some extent.

(ECF 44). On May 22, 2023, the Court reminded the parties that if they wish for the Court to

decide a dispositive motion, they must file the appropriate consent form, available at

https://nysd.uscourts.gov/forms/consent-proceed-us-magistrate-judge-specific-motion, and

file it on the docket. (ECF 45). To date, the consent form has not been filed.

          If the parties wish to consent to my jurisdiction for any dispositive motions, or for all

purposes, they must file an executed consent form on or before October 31, 2023. For the

parties’ convenience, a blank consent form is attached to this Order as Exhibit “A.”

         The Clerk of Court is respectfully directed to file a copy of this Order in Liberty Mut. Ins.

Co. v. All-Ways Forwarding Int’l, Inc., No. 21-cv-8726 (VSB) (S.D.N.Y. Oct. 25, 2021); Starr

Indemnity & Liability Co. v. Yang Ming Marine Transp. Corp., No. 22-cv-8331 (VSB) (S.D.N.Y.

Sept. 29, 2022); Travelers Prop. Cas. Co. Am. v. Expeditors Int’l of Wash., Inc., No. 22-cv-8572
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(VSB) (S.D.N.Y. Oct. 7, 2022); Certain Underwriters at Lloyd’s of London Subscribing to Pol’y No.

600230 v. Expeditors Int’l of Wash., Inc., No. 22-cv-8579 (VSB) (S.D.N.Y. Oct. 10, 2022); and

Balanza Asia Co. Lt. v. Expeditors Int’l of Wash., Inc., No. 22-cv-8574 (RA) (S.D.N.Y. Oct. 7, 2022).

       If the parties in those cases wish to consent to my jurisdiction for all purposes, they

should file the executed consent forms on their respective dockets so that the appropriate

district judge may review them.

       SO ORDERED.



                                                            s/ Ona T. Wang
Dated: October 12, 2023                                   Ona T. Wang
       New York, New York                                 United States Magistrate Judge
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                     EXHIBIT “A”
                   Case 1:21-cv-08726-VSB-OTW Document 58 Filed 10/12/23 Page 4 of 4
AO 85 (Rev. 02/17) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                        __________ District of __________

                                                                               )
                                 Plaintiff                                     )
                                    v.                                         )      Civil Action No.
                                                                               )
                               Defendant                                       )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge
may exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


        Printed names of parties and attorneys                               Signatures of parties or attorneys                  Dates




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                    District Judge’s signature



                                                                                                     Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.



         Print                           Save As...                                                                              Reset
